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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHY TOWNSEND GRIFFIN, e¢.al.,

Plaintiffs,

vs. ECF CASE
17-CV-5221 (LLS)

EDWARD CHRISTOPHER SHEERAN, et.al.,

Defendants. PLAINTIFFS’ OBJECTION TO
DEFENDANTS’ SIXTH
MOTION IN LIMINE

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THE ENUMERATED PLAINTIFFS, collectively, Object to the Defendants’ Sixth
Motion in Limine and, as basis therefore, would state as follows:

1. Twenty-Eight (28) months subsequent to the time at which this case was original
set for trial but delayed due to Covid-19, The Defendants have filed a Sixth Motion in Limine
seeking an Order precluding the Plaintiffs from utilizing the medley of “Let’s Get It On” and
“Thinking Out Loud”, as performed by the Defendant, Ed Sheeran, himself, in concert.’

2. The Defendants claim now specifically that the medley at issue’ is a.) not relevant
to the issues of fact to be litigated at trial; b.) violates Rule 403 to the extent that it would
cause jury confusion; and c.) would have a chilling effect on musicians’ abilities to perform
musical medleys at concerts for fear of suffering legal consequences deriving therefrom.

3. The Plaintiffs would, respectfully, contend that each of the arguments proffered by
the Defendants in support of the subject motion are without merit. They will be addressed herein

below in the order in which they presented in Defendants’ motion.

 

1 As the Court Record will reflect, the Defendants filed five (5) separate previous motions in limine in the Fall of
2020 but did never deigned to request the relief contemporaneously sought.

? Defendants utilize the term “mashup” which the Plaintiffs, respectfully, do not believe accurately depicts the
video in question.
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MEMORANDUM OF LAW IN OPPOSITION
TO SIXTH MOTION IN LIMINE

A. THE MATTER OF RELEVANCE

4. Asa preliminary matter, it should be noted that the Defendants arguments herein
are already, arguably, barred by the doctrine of res judicata or the law of the case—as this Court
noted in its previous Order Denying Defendants’ erstwhile Motion for Summary Judgment, a
jury “may be impressed by footage of a Sheeran performance which shows him seamlessly
transitioning between LGO and TOL”. (Doc. 93, Page Seventeen (17)).

5. Presumably, if the Court believed that the video footage of the medley of the two (2)
songs would be improper for a jury to view at trial, the Court would have been reticent to
state a jury’s possible interest in the same.?

6. In order to prove a claim of copyright infringement, the Plaintiffs’ charge herein is
to establish that “(1) the defendant has actually copied the plaintiff's work; and (2) the copying is
illegal because a substantial similarity exists between the defendant’s work and the protectable
elements of plaintiffs”. Peter F. Gaito Architecture, LLC v. Simone Development Corporation,
602 F.3d 57, 63 (2d Cir. 2010).

7. The matter as to whether there is a substantial similarity between artistic works
and/or compositions “is frequently a fact issue for jury resolution”. Warner Brothers, Inc. v.
Am. Broad. Cos., Inc., 720 F.2d 231, 239-40 (2d Cir. 1983); see also Matthew Bender & Co.
v. W. Pub. Co., 158 F.3d 674, 681 (2d Cir. 1998).

8. In this instance, the Court has established previously that there are elements of
the respective compositions herein that could be construed as being substantially similar

including harmony, harmonic rhythm, and vocal melodies.‘

 

3 Moreover, within this context, it is also worthy of note that the Court reiterated the prospective relevance of the
medley at the case management conference of March 8, 2019.

4 Defendants focus exclusively on chord progression in their motion, strategically omitting the previous findings of
this Court in the Order Denying the Motion for Summary Judgment (Doc. 93).

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9. The video of the medley at issue demonstrates the similarities between the
two (2) compositions with respect to the disputed areas of similarities in the compositions.
The Plaintiffs’ expert, Dr. Alexander Stewart, has previously opined in this case as to the
similarities between the composition of “Thinking Out Loud” and the deposit copy of “Let’s Get
It On” and the video medley at issue provides helpful guidance to highlight and/or illustrate
those similarities and why they are significant.

10. In the Plaintiffs’ anticipated attempts to demonstrate substantial similarity at
trial, the video medley is directly relevant to the same.

11. Notwithstanding, there are several other factors which should have the operative
legal effect of procedurally and substantively barring the Defendants from seeking the
current relief—specifically, the Defendant, Ed Sheeran, himself, raised various affirmative
defenses responsive to the Plaintiffs’ Complaint (Doc. 23)—

“AS AND FOR ELEVENTH AFFIRMATIVE DEFENSE
75. The Complaint is barred because TOL was created independently.
AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

76. The Complaint is barred because the alleged use, which is not admitted,
is de minimis.

AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

77. The Complaint is barred because LGO and TOL are not substantially
similar.

AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

78. The Complaint is barred because the elements of LGO and TOL,
allegedly infringe are not protectable and are not original”.

12. Given the Defendants’ affirmative defenses challenging the similarity of the
works at issue, claiming independent creation, de minimis use, and unprotectability of core

elements, the Defendants are hard-pressed to assert the above-chronicled defenses while now

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simultaneously contending that the Plaintiffs should be deprived of the very evidence at trial
which would tend to dispute and/or overcome said defenses. The Defendants have placed
various defense issues squarely before this Court which not only serve to underscore and/or
emphasize the relevancy of the medley of LGO and TOL, but to, in fact, make the inclusion of
said medley necessary.

13. Itis also worthy of note within the context of Defendant’s, Ed Sheeran’s, arguments
herein that during the course of his deposition attendant to this litigation, when the Defendant
was shown the video medley, on his own initiative he elected to rewind the video medley and
attempted to sing other, alternate, songs over the previously-recorded medley for the purported
proposition that there was apparently little significance to the combination of the two (2) songs
in a medley.°

B. JUROR CONFUSION

14. The Defendants never fully explain the manner in which jurors would allegedly
be led to being confused by hearing a medley of the two (2) songs at issue.

15. As indicated herein previously, the Defendant, Ed Sheeran, already availed himself
of the opportunity to attempt to explain the supposed ‘meaninglessness’ of the subject medley by
performing a new medley at his deposition.

16. The Plaintiffs would, respectfully, posit that the Defendant’s, Ed Sheeran’s,
unfettered reliance on an ‘alternative’ medley at deposition to support the Defendants’
chosen defense narrative/strategy should be construed as a waiver of any objection to the
original medley at issue herein. That is to say, the Defendant, Ed Sheeran, should not be

permitted to “cherry-pick” and choose which of his own self-serving engineered medleys are

 

5 Notably, at the time the Defendant, Ed Sheeran, performed his impromptu renewed vocal medley at his
deposition, none of the Defendants, or Defendants’ counsel(s) for that matter, deigned to object. tn point of fact,
one of Defendant’s counsel(s) jokingly stated that the Parties in attendance were being treated to something akin
to a free concert.
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proper for jury consumption (and, as such, presumably unlikely to cause juror confusion, per the
Defendants), while, at the same time, excluding those the Defendants construe as unduly
burdensome and those which do not aptly comport with their elected anticipated trial narrative.
To allow as much to occur is tantamount to unilateral disarmament.

17. Finally, with regard to potential confusion, the Defendants will, unequivocally,
enjoy the benefit of making their arguments as to the meaning and/or import of the medley at
trial. By way of addition, the Defendant, Ed Sheeran, will have ample opportunity vis a vis his
expert musicologist to opine as to why the Defendants take the position as the medley’s alleged
lack of relevance and/or significance.

C. CHILLING EFFECT

18. Defendants also argue that the apparent fate of future concert medleys is in the
hands of this Court attendant to its motion.

19. It is not immediately clear, nor do Defendants explain, how the admission of
a medley of the two (2) songs at issue in this litigation, as performed by the Defendant, Ed
Sheeran, himself, would have the operative “real world” chilling effect of extinguishing
the use of medleys at live concerts.

20. In this instance, the Defendant, Ed Sheeran, had the opportunity to play a
medley of “Thinking Out Loud” and any of the myriad songs he claims are similar in
terms of structure and content and yet of those alleged innumerable songs sharing similar
elements, he volitionally chose to combine “Thinking Out Loud” with “Let’s Get It
On”—this is a significant choice and an abidingly relevant event which belies the notion of

independent creation and other arguments, as set forth in the Defendants’ affirmative defenses.°

 

5 By way of addendum, it is worth chronicling herein that in speaking to the creation of “Thinking Out Loud”, the
Defendants have suggested that during the development of the song it was actually referred to internally as the
so-called “Van Morrison” song. This information was apparently proffered in support of the notion that the
Defendants had no idea as to the similarities between TLO and LGO during TLO’s creation. It is worthy of note,
however, that during the deposition that was taken of Mr. Stuart Camp (i.e., Ed Sheeran’s manager), in recent

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21. Within the milieu of the Defendants’ “chilling effect” argument, the combination
of these two (2) songs in a medley was a discrete event which merely serves as evidence of
infringement herein. Defendants have provided nothing beyond mere speculation that
the inclusion of directly relevant evidence in the instant litigation would have any collateral
impact on any aspect of the concert industry. Even assuming—arguendo—that the Defendants
could actually establish even the slightest vestige of a detrimental effect on the same, it
would not serve to abrogate the propriety of the inclusion of the medley in this specific
case.

CONCLUSION

22. To be clear, the medley which the Defendants belatedly seek to exclude from
admission at trial attendant to their Sixth Motion in Limine is among the most important
and critical evidence in this case, a fact which—it is believed—has previously been recognized
by this Court in its Order Denying the Defendant’s Motion for Summary Judgment (Doc. 93).

WHEREFORE, the Plaintiffs, collectively, Object to the Defendants’ Sixth Motion
in Limine and Motion this Court for the entry of an Order Denying said motion, as well as
providing for any such other relief as this Court should deem equitable and just.

DATED this 23™ day of February, 2023.
FRANK & RICE, P.A.

Respectfully-Submitted,

'S

Patrick R. Frank, Esq. :
Florida Bar Number: 0642770

 

weeks, given that the song was allegedly previously referred to as the “Van Morrison” song, Mr. Camp was asked
whether he could recall a time when the Defendant, Ed Sheeran, had ever performed a medley of “Thinking Out
Loud” with any Van Morrison song while in concert. He could not.

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Keisha D. Rice, Esq.
Katherine L. Viker, Esq.
Frank & Rice, P.A.

325 West Park Avenue
Tallahassee, Florida 32301
Telephone: (850) 629-4168
Facsimile: (850) 629-4184
